           Case 6:23-cv-00059-ADA-DTG Document 1 Filed 01/30/23 Page 1 of 5
                                                                                           FILED
                                                                                      January 30, 2023
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                    WESTERN DISTRICT OF TEXAS
                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                                      lad
                                                                                 BY: ________________________________
                                                                                                         DEPUTY
                                     WACO DIVISION

     JOHN A. PHAM, SR.                             §
     Plaintiff                                     §
                                                   §
     V.                                            §      Civil Action        6:23-cv-00059
                                                   §
     MAXIM HEALTHCARE                              §
     SERVICES, INC.                                §
                                                   §
                                                   §
     Defendants                                    §

          PLAINTIFF’S INITIAL COMPLAINT FOR EMPLOYMENT DISCRIMINATION,
              DEFAMATION, WRONGFUL TERMINATION, RETALIATION AND
           RETALIATION UNDER SECTION 504 OF REHABILITATION ACT ACTION
          UNDER DUE PROCESS/STIGMA PLUS AND EQUAL PROTECTION CLAIMS


1.         This is an action by the plaintiff, John Anthony Pham (“plaintiff” or “John”), whose

employment with defendant “Maxim Healthcare Services” was wrongfully terminated. Plaintiff

brings this action against defendant for economic, noneconomic, compensatory, and punitive

damages, pursuant to Civil Code section 3294, pre-judgment interest pursuant to Code of Civil

Procedure section 3291, and costs and reasonable attorneys’ fees pursuant to Code of Civil

Procedure section 1021.5.

     2a.      The plaintiff is John Anthony Pham, Sr. who resides at address 1118 Coldstream Rd.,

     Houston, Texas 77055, Harris County.

     2b.      Defendant Maxim Healthcare Services business is located at 3109 W Dr. Martin

     Luther King Jr. Blvd. Suite 500 & 501 Tampa, Florida 33607.

     2c.      Venue is proper in this court because the employment discrimination took place in

     the district that this Court is located.
      Case 6:23-cv-00059-ADA-DTG Document 1 Filed 01/30/23 Page 2 of 5




3a.      Plaintiff was employed by the defendant at 3109 W Dr. Martin King Jr. Blvd.

Suite 500 & 501 Tampa, Florida 33607

3b.      At all relevant times of claim of discrimination, Defendant employed More Than

50 employees.

4.       Defendant discriminated against plaintiff in the manner indicated in paragraph

13a of this complaint on or about April 9, 2019. Multiple incidences of discrimination,

defamation and retaliation occurred August 23, 2018 through January 30, 2023.

5.       Plaintiff filed charges against the defendant with the Equal Employment

Opportunity Commission (E.E.O.C.) charging defendant with the acts of discrimination

indicated in paragraphs 7-11 of this complaint on or about October 14, 2022.

6a.      The E.E.O.C issued a Notice of Right to Sue which was received by plaintiff on

October 31, 2022.

6b.      The E.E.O.C did not issue a Determination in my case.

7.       The action for employment discrimination arises under Title VII of the Civil

Rights Act for employment discrimination. Jurisdiction is conferred by Title 42 of the

United States Code, section 2000e-5.

8.       The action for racial discrimination in employment arises under Title 42 of the

United States Code, section 1981. Jurisdiction is conferred by 42 U.S.C. section 1981 and

Title 28 of the United States Code, sections 1331 and 1343.

9.       The action for retaliation arises under Section 504 of The Rehabilitation Act of

1973 29 USC §791 et seq.
      Case 6:23-cv-00059-ADA-DTG Document 1 Filed 01/30/23 Page 3 of 5




10.      The action for the due process/stigma plus claim arises under Title 42 of the

United States Code, section 1983. Jurisdiction is conferred by Title 42 section 1983 and

Title 28 of the United States Code, sections 1331 and 1343.

11.      The action for equal protection arises under the XIV Amendment of the United

States Constitution. Plaintiff invokes the class of one theory announced in Village of

Willowbrook v. Olech, 528 U.S. 562, 120 S. Ct. 1073, 145 L.Ed.2d 1060 (2000). In the

alternative, the action arises under the Equal Protection Clause of the XIV Amendment

without invoking the class of one theory. Jurisdiction is conferred by the XIV

Amendment of the US Constitution and Title 28 of the United States Code, sections 1331

and 1343.

12.      The continuing action of defamation arises under Title 42 of the United States

Code, section 1983. Jurisdiction is conferred by Title 42 section 1983 and Title 28 of the

United States Code, sections 1331 and 1343.

13.      The Conspiracy to violate the Open Records Act, TCHRA and Title VII.

13a.

  • The Plaintiff is a Black.

  • The Plaintiff is male.

  • The Plaintiff was 51 years of age at the time of the incident.

  • The Plaintiff through email, phone calls and his direct action steps complained

       (advocacy) about the conditions, not allowed equipment and missing services for the

       special education students (a protected class - under Section 504 of The

       Rehabilitation Act) he was the teacher of record for.

  • The Plaintiff was transferred to another school.
      Case 6:23-cv-00059-ADA-DTG Document 1 Filed 01/30/23 Page 4 of 5




  • The Plaintiff at the next school through email, phone calls and his direct action

       steps complained (advocacy) about the conditions, not allowed equipment and

       missing services for the special education students (a protected class - under

       Section 504 of The Rehabilitation Act) he was the teacher of record for.

 • The Defendant refused to investigate before their termination action.

 • The Defendant refused to enforce the mandatory written documentation provision

       of their contract with Killeen ISD.

 • The Plaintiff was terminated on April 9, 2019.

 • The Plaintiff's attorney submitted an Open Records Request to the Defendant in

       August of 2019.

 • The Defendant concealed the fact that they had submitted a false and defaming

       letter to the Texas Education Agency on April 9, 2019. The letter caused the

       Plaintiff's name and likeness to be placed in a world-wide accessible Do Not Hire

       registry which housed educators who had been accused of and terminated for sexual

       offenses with students.

 • The Defendant acknowledged the concealment of the letter on January 14, 2022.

14.      The Plaintiff requests a jury trial.


15.      The Plaintiff respectfully prays that this Court award judgment in favor of

         Plaintiff's rights under Title VII of the Civil Rights Act, 42 U.S.C. section

         2000e-5, 42 U.S.C. section 1981, 42 U.S.C. section 1983, the Equal Protection

         Clause of the XIV Amendment of the Unites States Constitution and award the

         following:
Case 6:23-cv-00059-ADA-DTG Document 1 Filed 01/30/23 Page 5 of 5



        1. Mental anguish past and future

        2. Humiliation past and future

        3. Innconvenience past and future

        4. Loss opportunity past and future

        5. Harm to professional reputation past and future

        6. Loss of enjoyment of life past and future

        7. Unble to adequately care for family past and future


c.   Plaintiff requests that defendant be ordered to pay punitive damages for its

     intentional discrimination, described above, against Plaintiff during and

     after his employment with Maxim Healthcare Services, Inc.

d.   Attorney’s fees and court costs

e.   Grant plaintiff all such other relief as justice may allow.



                                            Respectfully submitted,



                                            ____________________________
                                            John Pham
                                            1118 Coldstream Rd. #16
                                            Houston, Texas 77092

                                            PLAINTIFF
